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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                     Plaintiff,                                  4:12CR3097
      vs.
                                                     MEMORANDUM AND ORDER
JOSE FELICIANO ALVARADO-
MONTOYA,
                     Defendants.

      Defendant has moved to continue defendant’s change of plea hearing. (Filing No.
32). As explained in the motion, defense counsel cannot attend the hearing at the
currently scheduled date and time. The motion to continue is unopposed. Based on the
showing set forth in the motion, the court finds the motion should be granted.
Accordingly,

      IT IS ORDERED:

      1)       Defendant’s oral motion to continue, (filing no. 32), is granted.

      2)       The defendant's plea hearing will be held before the undersigned magistrate
               judge on November 29, 2012 at 2:00 p.m.. The defendant is ordered to
               appear at this hearing.

      3)       For the reasons stated by counsel in the motion, the Court finds that the
               ends of justice served by continuing defendant's plea hearing outweigh the
               best interest of the defendant and the public in a speedy trial. Accordingly,
               the time between today's date and the district court judge's acceptance or
               rejection of the anticipated plea of guilty shall be excluded for speedy trial
               calculation purposes. 18 U.S.C. § 3161(h)(7).


      November 19, 2012.
                                                  BY THE COURT:
                                                  s/ Cheryl R. Zwart
                                                  United States Magistrate Judge
